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                  UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW JERSEY


                                        :
 UNITED STATES of AMERICA                          O R D E R
                                        :

            v.                          :      Case No.      9cr369-5(DMC)

 VICENTE ESTEVES                        :




            This matter having come before the Court on a Report
 and Recommendation of Honorable Mark Falk, United States

 Magistrate Judge, to accept the guilty plea of the defendant to

 count 3s of the Superseding Indictment entered by the defendant

 on 14 February 2013; and

            The court having reviewed same; and

            For good cause shown;

            It is on this 25th day of February 2013                ORDERED that

 the Report and Recommendation of Magistrate Judge Falk entered on

 February 14, 2013 is adopted and the defendant is to be found

 guilty as to count 3s of the superseding Indictment.




                                          S/DENNIS M. CAVANAUGH
                                        DENNIS M. CAVANAUGH , U.S.D.J.
